       Case 3:22-cv-00172-L Document 1 Filed 01/26/22             Page 1 of 6 PageID 1




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 UNITED STATES OF AMERICA

                          Plaintiff,                 NO. 3:22-CV-172

 v.


$6,123,652.21 SEIZED FROM THE FTX
TRADING LIMITED ACCOUNT IN THE
NAME OF '.'EVEGNII IGOREVICH
POLIANIN" BEGINNING WITH "0X67E"

                          Defendant in rem.

                  UNITED STATES' COMPLAINT FOR FORFEITURE

         The United States of America files this verified complaint in rem against

$6,123,652.21 seized from the FTX Trading Limited account in the name of "Evegnii

Igorevich Polianin" beginning with "0x67e" ("the Defendant Property") that is now

located and in the custody and management of the United States Marshals Service, 1100

Commerce Street, Dallas, Texas.

                             I.        JURISDICTION AND VENUE

        1.       This Court has subject matter jurisdiction of this case of action in rem by

virtue of the provisions of 28 U.S.C. §§ 1345 and 1355(a). Venue is proper under 28

U.S.C. § 1355(b)(l) and 28 U.S.C. § 1395(b) because the acts giving rise to the forfeiture

occurred in this district.

        2.      The statutory basis for this suit is 18 U.S.C. §§ 981(a)(l)(A) and

98l(a)(l)(C) & (G). Also applicable are 28 U.S.C. §§ 2461 and 2465, 18 U.S.C. § 983,

United States' Complaint for Forfeiture - Page 1
Case 3:22-cv-00172-L Document 1 Filed 01/26/22   Page 2 of 6 PageID 2
Case 3:22-cv-00172-L Document 1 Filed 01/26/22   Page 3 of 6 PageID 3
Case 3:22-cv-00172-L Document 1 Filed 01/26/22   Page 4 of 6 PageID 4
Case 3:22-cv-00172-L Document 1 Filed 01/26/22   Page 5 of 6 PageID 5
Case 3:22-cv-00172-L Document 1 Filed 01/26/22   Page 6 of 6 PageID 6
